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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OP NEW MEXICO

RIO REAL ESTATE l`NVESTl\/[ENT
OPPORTUNITIES, LLC, a New Mexico

limited liability company,

Plaintiff,
vs. Case Nurnber: l:lZ-cv-OO?SS-JAP-ACT

TESLA MOTORS, INC., a Delaware
oorporation,

Det`endant.

CERTIFICATE
Pursuant to D.N.M. LR-Civ. 26.2, the undersigned certified that on the 12th day of
Decernber, 2012, Plaintift` Rio Real Estate lnvestrnent Opportunities, LLC emailed an electronic
version and mailed the original and one copy of the following documents:
l. Plaintiff Rio Real Estate Investment Opportunities, LLC, First Set of lnterrogatories to
Defendant;
2. Plaintiff Rio Real Estate lnvestrnent Opportunities, LLC, First Request of Docurnents to
Defendant', and
3. Plaintiff Rio Real Estate lnvestment Opportunities, LLC, First Set of Admissions to
Deii`endant
to the following counsel of record:
Andrew Schultz
Rodcy, ])ickason, Sloan, Akjn & Robb, PA

P.O. Box 1888
Albllquerque, NeW Mexico 87103-1888

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LASTRAPES, SPANGLER & PACHECO, P.A.

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LeeAnn Werbelow

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Rio Rancho, New Mexico 87l 74
Telephone: 505/892-3607
Facsirnile: 505/892-1864

The undersigned hereby certify that on Decernber 12, 2012, the foregoing Certi'l"lcate of
Service Was electronically filed With the Clerl< of Court using the CM/ECF system that Will send
notification of such filing to all counsel of record:

Andrew Schultz

Rodey, Dickason, -S-loan, Akin & Robb, PA

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LASTRAPES, SPANGLER & PACHECO, P.A.

By: %Q

Christgpher M. Pacheco

